                      IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF KANSAS

In Re:                                )
Matrix Electronic Measuring, Inc.,    )       Case No. 23-21075-RDB
                     Debtor.          )       Chapter 7
                                      )

                          NOTICE OF RULE 2004 EXAMINATION

       The Trustee, Darcy D. Williamson, by the undersigned counsel, will examine Travis Young

and Jessica Sander, under oath on March 27, 2024 at 2:00 p.m. by telephone. The examination may

continue from day to day until completed.

       The examination is pursuant to Bankruptcy Rule 2004 and D. Kan. LBR 2004.1, and will be

recorded. The scope of the examination shall be as described in Bankruptcy Rule 2004. Pursuant to

D. Kan. Local Rule 2004.1, no order shall be necessary.

       Undersigned counsel hereby certifies that he contacted the Debtor's attorney and that the

examination has been set by agreement.

                                                      /s/ J. Michael Morris
                                                      J. Michael Morris, #09292
                                                      KLENDA AUSTERMAN LLC
                                                      301 N. Main St., Ste. 1600
                                                      Wichita, KS 67202-4816
                                                      (316) 267-0331 Telephone
                                                      (316) 267-0333 Fax
                                                      Jmmorris@klendalaw.com
                                                      Attorney for Trustee

                                    CERTIFICATE OF SERVICE
         I certify that a true copy of this Notice was served on the examinees c/o Neil S. Sader by
first class mail and e-mail on March 13, 2024 to:

          Neil S. Sader
          The Sader Law Firm
          2345Grand Blvd Ste 2150
          Kansas City MO 64108-2663
          nsader@saderlawfirm.com
          Attorney for Debtor

                                                      /s/ J. Michael Morris
                                                      J. Michael Morris
29Y6462
                 Case 23-21075        Doc# 23     Filed 03/13/24     Page 1 of 1
